




Criminal Case Template












COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



VIRGINIA TEAGUE,


                            Appellant,


v.


TEXAS DEPARTMENT OF
PROTECTIVE AND REGULATORY
SERVICES,


                            Appellee.

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No. 08-03-00073-CV


Appeal from the


65th Judicial District Court


of El Paso County, Texas


(TC# 2001CM6338)




M E M O R A N D U M   O P I N I O N



	This appeal is before the Court on its own motion, for determination of whether it
should be dismissed for want of prosecution.  Finding that no Appellant's brief has been
filed, we dismiss the appeal.

FACTS


	This appeal is from a judgment signed January 15, 2003.  The clerk's record was filed
on February 13, 2003, and a supplemental clerk's record was filed on April 1, 2003.  On
February 19, 2003, this Court ordered the trial court to conduct a hearing to determine if
Appellant was indigent.  The trial court held a hearing on March 24, 2003, at which
Appellant failed to appear.  Appellee did appear and contested Appellant's indigency. 
Because she failed to appear, the trial court found there was no evidence to support a claim
of indigency and that Appellant was not entitled to Court-appointed counsel.  

	Because this is an accelerated appeal, Appellant's brief was due April 17, 2003.  No
brief has been received in this Court, nor has a motion for extension of time to file
Appellant's brief been received.  On April 23, 2003, pursuant to Tex. R. App. P. 42.3 and
38.8, this Court's clerk sent the parties a notice of the Court's intent to dismiss for want of
prosecution if, within ten days of the notice, no party responded showing grounds to continue
the appeal.  No response has been received as of this date.

Appellant's Failure to File Brief


	This Court possesses the authority to dismiss an appeal for want of prosecution when
Appellant has failed to file his brief in the time prescribed, and gives no reasonable
explanation for such failure.  See Tex. R. App. P. 38.8; Celotex Corp. Inc. v. Gracy Meadow
Owners Assoc., Inc., 847 S.W.2d 384, 385 n.1 (Tex. App.--Austin 1993, writ denied).  We
have given notice of our intent to do so, requested a response if a reasonable basis for failure
to file the brief or statement of facts exists, and have received none.  We see no purpose that
would be served by declining to dismiss this appeal at this stage of the proceedings.  Pursuant
to Tex. R. App. P. 38.8 and 42.3(b), we dismiss the appeal for want of prosecution.

May 22, 2003



				        		                                                                             						RICHARD BARAJAS, Chief Justice


Before Panel No. 4

Barajas, C.J., Larsen and McClure, JJ.


